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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                  :
 UNITED STATES OF AMERICA,                                        :
                                                                  :   CASE NO. 20 -CR-188
                                                                  :
                v.                                                :   MEMORANDUM OF POINTS AND
                                                                  :   AUTHORITIES IN SUPPORT OF
 HAMID AKHAVAN,                                                   :
                a/k/a “Ray Akhavan”,                                  MOTION TO DISMISS
                                                                  :
                                                                  :
                                                                  :
                                Defendant.
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                 DEFENDANT HAMID AKHAVAN’S MEMORANDUM OF LAW
                  IN SUPPORT OF MOTION TO DISMISS THE INDICTMENT


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         Defendant Hamid Akhavan hereby respectfully submits this Memorandum of Law in

support of his Motion to Dismiss the Superseding Indictment (ECF 16) charging him with

Conspiracy to Commit Bank Fraud.1

    I.      Introduction

         This appears to be the first indictment for economic fraud that lacks any economic victim—

whether potential, actual, or intended. The Government alleges defendants were co-conspirators

(though not the direct actors) in a scheme to convince banks to process marijuana-related

transactions that were legal (by the Government’s tacit acknowledgement), that were intended and

requested by the sellers and cardholders, and that in fact closed, precisely as agreed between sellers

and cardholders, at the prices transacted by the banks. On those facts, the Government somehow

charges federal bank fraud was committed at the expense of United States banks. For the reasons

stated herein, the instant indictment is legally defective in its foundations and should be dismissed.

         Not only is there no allegation that any underlying transactions were fabricated,

uninformed, or even dissatisfactory, but there is also, strikingly, no theory of harm to the issuing

banks, which are the only participants in these transactions that allegedly lacked complete

information.2 First and foremost, the Government conspicuously fails to allege the banks incurred

potential legal risk. Indeed, the Government has ostensibly made a considered judgment to eschew



1
    In addition to the arguments set forth herein, Defendant Ray Akhavan joins in full and adopts
the arguments set forth in the Memorandum of Law in Support of Defendant Ruben Weigand’s
Motion to Dismiss the Indictment.
2
    As described further below, the Government fails to allege that the banks, or any other party
to the transactions, would have rejected them had they known the transactions involved the legal
intrastate sale of marijuana. Moreover, the misrepresentations alleged—incorrect merchant
category codes—are not, in reality, considered precise enough to discern that cannabis is a product
in a given transaction. Rather, they are assigned categorically to industries, like pharmacies and
department stores, and not to products. The Government does admit in the indictment that there
is no merchant category code for cannabis.

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any allegation that U.S. banks cannot process marijuana-related transactions precisely as U.S.

banks did according to this indictment. Instead, the Government is trying to rest its criminal case

on the mere happenstance that some (not all) U.S. banks allegedly opted to maintain their own

policies against processing marijuana-related transactions.

       Second, there is no allegation of economic loss to the banks. Nor is there any allegation of

increased economic risk—even deferred or theoretical risk. There is not even an allegation these

transactions stood to make the banks smaller profits than alternative transactions they would have

otherwise pursued. By all indications, the banks made the same money from this additional

transaction volume as they would from any other, which is why the Government makes no

allegation about the economics of this alleged crime ever harming or threatening any U.S. bank.

       Third, the Government fails to allege that the “fraud,” even if it existed, was material to

the U.S. banks. At bottom, this indictment rests entirely on the premise it is a federal crime to

induce a U.S. bank to deviate from what the Government alleges to be a variable industry policy

in processing transactions, even where the transactions are perfectly legal, bona fide, and

profitable. Even on that theory, however, the Government still comes up blank in an essential

respect: nowhere does the indictment allege that the supposed misrepresentations could have or

did actually induce the banks to take any action—i.e., that the supposed misrepresentations were

material, such that any particular bank would not have processed any particular transaction in the

face of complete information. Still more strikingly, the Indictment effectively admits that the

existing structure of the transactions did not enable the banks to weed out cannabis transactions,

even if the banks had so desired.

       The operative theory of this indictment is utterly alien to the federal bank-fraud statute,

which is anchored in protecting the safety and thus solvency of depository institutions the federal



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government insures via the FDIC. Consistent with the statute and its defining purpose, settled law

does not admit of federal bank fraud in a case where U.S. banks’ customers are fully informed and

consenting, and where the U.S. banks face no legal or economic exposure. Perhaps because it

recognizes as much (or because it hopes to steer around the Rohrabacher–Farr amendment, which

forbids use of federal funds to interfere with States’ medical marijuana programs), the Government

has tried to shroud core legal defects in a haze of vague pleading. Far from solving the underlying

problem, however, the Government’s pleading omissions preclude it from stating any offense. The

indictment is therefore misconceived and deficient at its inception, and should be dismissed for

multiple reasons.

    II.      The Indictment

          On March 9, 2020 a Grand Jury issued a one-count indictment (the “Indictment”) against

Hamid Akhavan and Ruben Weigand (together, the “Defendants”).3 The Indictment alleges

generically that “many United States banks are unwilling” to process transactions involving

marijuana. (Indictment at ¶1); see also (Indictment at ¶12) (“[M]ost banks in the United States

were unwilling to process credit and debit card transactions involving marijuana . . . .”).4 It also

alleges the Defendants and their California-based company provided a mobile platform to process




3
    Capitalized terms not otherwise defined have the meanings ascribed to them in the Indictment.
4
    Part and parcel of the vagueness suffusing the Indictment, the Government leaves unclear what
constitutes an alleged “marijuana” transaction. For instance, there is no way to determine whether
and to what extent such transactions include those for products that come from the marijuana plant
but lack the Delta-9-tetrahydrocannabinol (“THC”) secreted by the plant and/or were for
paraphernalia from dispensaries that itself does not contain THC. The Government likewise leaves
unclear whether and which transactions specifically involved medical marijuana. Any written
policies on which the Government might rely would need to make clear their contours; the
Indictment, however, is studiously unclear.


                                                 3
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marijuana-related transactions for California and Oregon purchasers through both debit and credit

card payments. (Indictment at ¶¶ 3–4).

       These payments were allegedly conducted through “payment networks” run by Credit Card

Companies like Visa and MasterCard—entities not covered by the bank-fraud statute. The

Government asserts these companies “have rules that prohibit their credit cards from being used

for marijuana purchases,” even though this is false in at least the cases of Visa and MasterCard.5

(Indictment at ¶5) (claiming these policies also apply to many debit cards). The Government then

explains violations of these alleged prohibitions may result in a merchant being terminated from

the payment network. (Indictment at ¶7-8). Notably, the Government does not and cannot

complain of any fraud against the Credit Card Companies.

       The scheme outlined in the Indictment boils down to inducing, via allegedly incorrect

merchant coding, some set of U.S. banks to process some transactions involving marijuana even

while some U.S. banks would otherwise opt against doing so.6 Yet the Indictment hides the ball

about how that scheme actually operated. Despite lavishly detailing how “Phony Merchants”

would appear on customers’ credit cards statements (Indictment ¶2), the Indictment says nothing

about how any of those particulars matter to review or processing by U.S. banks. Similarly, the



5
    The Government’s failure to cite specifics of the rules it references betrays fundamental
weaknesses in the Indictment. Indeed, since 2014 the two largest Credit Card Companies—Visa
and MasterCard—have (at least publicly) left to local and merchant banks the decision to process
card payments. See Visa, MasterCard Relax Rules for Marijuana Purchases, CONVENIENCE.ORG
(Jan. 10, 2014), https://www.convenience.org/Media/Daily/ND0110143; David Migoya,
Recreational pot: Processors of credit, debit cards relax rules, DENVER POST (Jan. 7, 2014, last
update Oct. 2, 2016), https://www.denverpost.com/2014/01/07/recreational-pot-processors-of-
credit-debit-cards-relax-rules/. In any event, however, the Credit Card Companies are not and
cannot be the alleged victims of any bank fraud under the statute, nor can the violation of their
(unspecified) contractual terms support a criminal offense.
6
   This coding system employs “Merchant Category Codes,” which are assigned by merchant
banks (not issuing banks or Credit Card Companies) to specific merchants (not products).

                                                4
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Indictment includes allegations about companies having “offshore bank accounts,” but says

nothing about how that was improper or induced U.S. banks to process marijuana transactions

contrary to their policies. (Indictment ¶12). The same holds for allegations about companies’

websites, addresses, and phone numbers, which the Indictment never ties to U.S. banks’ processing

of marijuana transactions and never even alleges were reviewed by or known to U.S. banks.

(Indictment ¶13).

       The only allegation in the Indictment that appears logically related to how the scheme

might operate—although the Indictment does not spell out the connection—is the use of “merchant

category codes” that are alleged to be deceptive. (Indictment ¶9). According to the Indictment,

because there were no merchant codes specifically for marijuana, someone (implicitly the

Defendants) needed to assign intentionally false merchant codes to dispensaries in order to set up

processing of the transactions.7

       The Indictment does not identify who—the Defendants, unidentified co-conspirators, or

other third parties—generated or assigned those codes. (Indictment ¶ 9). It alleges merely that

Akhavan “and others” “worked with and directed others to apply incorrect [merchant codes] to

their transactions,” and that various transactions were ultimately processed. (Indictment ¶ 14). In

other words, an unindicted, unnamed party took every alleged action that forms the gravamen of

the alleged crime, including assigning the merchant category codes.



7
     In essence, the Indictment admits that there are no entirely accurate codes for marijuana
transactions. The Government thereby effectively admits that these codes could never be used as
a filtering device for issuing banks in the United States, because no code would have contained
enough information to allow the bank to clearly identify the transaction as involving marijuana.
Indeed, federal privacy laws, which encompass medical marijuana from dispensaries, prohibit the
use of merchant codes that might reveal the precise drugs—including marijuana—purchased by
consumers.


                                                5
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        Despite going long on extraneous details, the Indictment is sparse about what merchant

category codes actually are and how they operate.8 It simply assumes these codes are precise,

well-understood warranties to the acquiring bank as to the exact subject matter of a particular

transaction—such that use of an inaccurate or inapposite category code, or underlying sale of an

item that has no applicable category code, translates to an intentional falsehood. (Indictment ¶ 9).

But that blinks (or at least elides) reality.9

        The most notable aspect of the Indictment is what it does not allege. First, there is no

allegation of intent to cause loss or risk of loss, just as there is no allegation that any loss or risk

of loss in fact resulted. Second, there is no allegation of intent to illicitly obtain funds, as all

transactions were in fact legitimate and intended by a consenting, fully informed buyer and seller.

Third, there is not even an allegation that any particular financial player to which the bank fraud

statute applies would or could have known to refuse a more properly-coded transaction (using a

more accurate code, to the extent one existed), refused a differently-coded transaction, or refused

any transaction in the face of perfect information. Here, the Indictment’s failure to include any


8
    The Indictment’s allegations about merchant coding whistle past the fact that the Defendants
do not assign these codes. Nor is it clear how coding was anything other than incidental to the
transactions; the Indictment omits any explanation or indication as to how different, closer or
“better” coding would have resulted in U.S. banks rejecting or stopping any of the marijuana-
related transactions described. And, despite going into extraneous detail about the “Phony
Merchants,” the Indictment does not allege that the non-U.S. Merchant Banks were the targets of
the alleged fraud. Nor can it. By the Government’s own admission, these entities are offshore
banks that are not U.S. entities and are not protected by the bank fraud statute.
9
    Even a cursory review of the Credit Card Companies’ merchant category code lists available
online themselves reveal that the codes designedly fall far short of capturing the entire range of
possible commercial activity, that the codes frequently change, and that they differ between
payment institutions and credit card networks. See, e.g., Merchant Category Codes, Citibank,
N.A.                  (2015)                  https://www.citibank.com/tts/solutions/commercial-
cards/assets/docs/govt/Merchant-Category-Codes.pdf, at 2 (describing purpose of codes) and
generally (listing codes, including lengthy lists of travel codes). Notably, the codes tend to be
quite general—although there are merchant category codes for “pharmacy” products, the exact
drugs are not broken out, thereby preserving consumers’ privacy.

                                                   6
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specifics about the name or policy of any issuing bank (which are the only statutorily possible

victims of the alleged scheme) draws into stark relief its impenetrable vagueness.

   III.      Analysis

          The Indictment should be dismissed on multiple grounds. As a procedural matter, the

Indictment is defective under Federal Rule of Criminal Procedure 12(b) for lack of specificity; by

obscuring and withholding key particulars, the Government fails to afford notice of the alleged

crime. See Fed. R. Crim. P. 12(b)(3)(B)(iii). On the merits, the Government’s theory of economic

fraud against U.S. banks is not anchored in any economic threat (actual, potential, or intended) to

U.S. banks. The Government spins an unprecedented theory of victimless bank fraud solely on

the basis that the subject matter of the transaction (marijuana) might run afoul of some banks’

policies, even though such transactions are legal in the relevant states, are not alleged to be illegal

here, and federal prosecution of any such transaction is foreclosed by a statutory bar. See Fed. R.

Crim. P. 12(b)(3)(B)(v).

             A. The Indictment should be dismissed for lack of specificity.

          The lack of specificity in the Indictment is glaring, and should be fatal in and of itself.

Although this case is about alleged conspiracy to commit bank fraud, the Government fails to

specify even one example of any U.S. bank actually being defrauded. If a crime is to be validly

alleged, then the Government should, at a bare minimum, supply specifics about who, what, when,

where, and how. Judged against that rudimentary standard, the Indictment fails.

                 1. The established standard for specificity requires more than a generic
                    recitation of the elements of an offense.

          The Federal Rules of Criminal Procedure require “a plain, concise, and definite written

statement of the essential facts constituting the offense charged.” Fed R. Crim. P. 7(c)(1). An


                                                   7
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indictment must “(1) contain[] the elements of the offense charged and fairly inform[] the

defendant of the charge against which he must defend, and (2) enable[] [the defendant] to plead an

acquittal or conviction in bar of future prosecutions for the same offense.” United States v. Crespo,

2017 WL 685572, at *1 (S.D.N.Y. Feb. 21, 2017) (internal quotations and citations omitted).

       Put differently, while “the language of the statute may be used in the general description

of an offense, . . . it must be accompanied with such a statement of the facts and circumstances as

will inform the accused of the specific offense, coming under the general description, with which

he is charged.” Russell v. United States, 369 U.S. 749, 765 (1962).10 To be sufficiently specific,

an Indictment must “set[] forth the elements of the charged offense and [provide the defendant]

with enough detail that he may plead double jeopardy in a future prosecution based on the same

set of events.”   United States v. Mermelstein, 487 F. Supp. 2d 242, 249 (E.D.N.Y. 2007)

(quotations omitted) (citing United States v. Walsh, 194 F.3d 37, 44 (2d Cir. 1999) and Hamling

v. United States., 418 U.S. 87, 117 (1974)).

       In addition, the indictment must “contain some amount of factual particularity to ensure

that the prosecution will not fill in elements of its case with facts other than those considered by

the grand jury.” Mermelstein, 487 F. Supp. 2d at 249 (quoting Walsh, 194 F.3d at 37). Further,


10
    See also United States v. Cruikshank, 92 U.S. 542, 558 (1875) (“It is an elementary principle
of criminal pleading, that where the definition of an offence, whether it be at common law or by
statute, includes generic terms, it is not sufficient that the indictment shall charge the offence in
the same generic terms as in the definition; but it must state the species—it must descend to
particulars. The object of the indictment is, first, to furnish the accused with such a description of
the charge against him as will enable him to make his defense, and avail himself of his conviction
or acquittal for protection against a further prosecution for the same cause; and, second, to inform
the court of the facts alleged, so that it may decide whether they are sufficient in law to support a
conviction, if one should be had. For this, facts are to be stated, not conclusions of law alone. A
crime is made up of acts and intent; and these must be set forth in the indictment, with reasonable
particularity of time, place, and circumstances”); United States v. Stavroulakis, 952 F.2d 686, 693
(2d Cir. 1992) (recognizing that the Supreme Court has said that an indictment requires specific
allegations, and cannot simply parrot elements of a crime).

                                                  8
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“it is a settled rule that a bill of particulars cannot save an invalid indictment” because a bill of

particulars does not satisfy a defendant’s Fifth Amendment rights. United States v. Gonzalez, 686

F.3d 122, 128 (2d Cir. 2012) (citing and quoting Russell, 369 U.S. at 770).

               2. The Indictment lacks the requisite specificity.

       The Indictment’s allegations addressing the elements of the crime are bereft of concrete

facts that would enable Defendants to understand what specific transactions are at issue, what

banks allegedly were defrauded, and how various dots supposedly connect. These pleading defects

are especially problematic considering that the Government is, per its peculiar theory of the crime,

bootstrapping the corporate policies of an amalgamation of unspecified private banking institutions

all presumably involved in different underlying transactions. No one can tell from the indictment

“the specific offense, coming under the general description,” and none of the Defendants could

subsequently plead double-jeopardy, given serial failures of specificity.

       First, where the alleged bank fraud is predicated upon violating the alleged individual

policies of individual banks, those banks and policies should be identified. See United States. v.

Agone, 302 F. Supp. 1258 (SDNY 1969) (dismissing Indictment for lack of requisite specificity

where crime as alleged could have been committed against multiple individuals, and Indictment

failed to identify the victim). As it stands, however, the Indictment fails to specify any of the key

players other than the Defendants—i.e., the merchant or processing banks or the financial

institutions who were purported “victims” of the conspiracy—much less the policies at issue. The

Government pleads only that “many United States banks are unwilling to process [marijuana]

payments”, (Indictment ¶ 1), “[t]he Credit Card Companies have rules that prohibit their credit

cards from being used for marijuana …. [d]ebit cards … often fall under the same rules,”

(Indictment ¶ 8), and “most banks in the United States were unwilling to process credit and debit


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card transactions involving marijuana,” (Indictment ¶ 12). Notably, neither the Credit Card

Companies nor the foreign and/or offshore Merchant Banks (all unidentified) can be the victims

of a bank fraud under the statute, which applies only to those institutions defined in 18 U.S.C.

§ 20.11 Even isolating solely the issuing banks, however, the Government is hiding all the key

balls from the Defendant. The Government is effectively relying upon particular policies of

particular banks to supply the predicates for the alleged crime, without setting forth any policy for

any bank, or any method by which notice of same was provided.

       Second, where the supposed mechanism of the bank fraud is misrepresentations that

induced specific transactions (allegedly processed by the banks in violation of their policies), the

misrepresentations and the corresponding transactions should be identified. C.f., e.g., United

States v. DiMarzo, 1993 WL 426936, at *2 (S.D.N.Y. Oct. 21, 1993) (concluding that an

indictment for bank fraud is sufficient where it tracks the language of the statute but also “sets

forth the dates upon which defendant deposited or attempted to deposit altered or forged stolen

checks, the nature of the alteration or forgery, the name of each bank in which each check was

deposited or attempted to be deposited, and the name of the account and bank against whom each

of the checks was drawn.”); United States v. Mercado, 2003 WL 21756084, at *2 (S.D.N.Y. Jul.

30, 2003) (indictment charging bank fraud sufficient where it identifies specific deposits of false

checks and withdrawals, including dates and amounts); see also United States v. Tomasetta, 429

F.2d 978 (1st Cir. 1998) (dismissing indictment for failure to identify victim, time, place, or means


11
    Financial institutions, as defined for purposes of Section 1344, include federally insured
depository institutions and their holding companies, certain credit unions with federally insured
accounts, federal loan banks or members of the Federal home loan bank system, certain institutions
affiliated with the Farm Credit System, small business investment companies, Federal Reserve
banks or members of the Federal Reserve System, certain organizations operating under the
Federal Reserve Act, branches or agencies of foreign banks operating in the U.S., or mortgage
lending businesses that make certain federally-related mortgage loans. 18 U.S.C. §20.

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of allegedly criminal extortion). Here, however, the Government fails to state any specific date on

which any offending transaction actually occurred. Its sprawling morass of generalities has not

been reduced to even a single concrete instance where nebulous allegations crystallize into a bank

fraud against any particular bank.

        Third, where intent to harm or cause risk to a party and actually causing harm or risk to a

party are both elements, as discussed at length below, some harm or risk of harm to a party should

be alleged. Based upon the pleading, however, there is no reason to conclude there was any intent

to harm a party because there was no reason to believe any party, nor any federal interest, would

be harmed, and, unsurprisingly, no parties were in fact harmed. See H&Q Properties, Inc. v. Doll,

793 F.3d 852 (8th Cir. 2015) (explaining, in context of motion to dismiss a civil RICO case

predicated on a violation of 18 U.S.C. § 1344(2), that failure to allege that Plaintiff defrauded the

bank at issue, rather than his business partner, was fatal to the complaint, and noting that “even

assuming . . . some kind of fraud [had been pled], § 1344(2) is not a plenary ban on fraud and does

not federalize frauds that are only tangentially related to the banking system.”) (citations,

quotations and alterations omitted). To the extent the Government’s account may differ and it may

be positing some theory of harm, its Indictment should so reflect—yet the Indictment is blank in

this critical respect.

        Fourth, where any misrepresentation has to be intended to actually induce a bank to take

actions it otherwise would not have (for the sake of establishing materiality), the Government

should be pleading that particular banks would have behaved differently in particular

transactions—i.e., they would have refused to process them. All the Government offers on this

point, however, is that “most” or “many” banks—the Government toggles between those terms—

were allegedly unwilling to process these transactions in general. (Indictment at ¶¶ 1, 12). That



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amounts to fudging. If the Government can allege that certain banks would not in fact have

processed the transactions at issue, then it should come clean with those specifics in its allegations.

       Moreover, the Government should be required to plead that the Defendants intended the

misrepresentations and what the misrepresentations induced. As to the “scheme” itself, the

Indictment fails to describe—even cursorily—how the Defendants managed to have “incorrect”

codes assigned.12 It fails to allege any role the Defendants played in the purported scheme, other

than creating a mobile application to facilitate intrastate marijuana-related transactions in two

States where such transactions are legal.

       Finally, this is conspiracy case, yet there is no allegation the Defendants ever selected or

submitted a merchant code, which is the core of the supposed crime. In the Indictment, the co-

conspirators were not only unnamed but also unidentified and undescribed. In response to the

order to file a bill of particulars by June 19, 2020, the Government has provided (but not filed) a

“confidential” list of co-conspirators. The Government has indicated that it will provide, but has

not yet provided an amended or supplemental bill of particulars. Even now, nothing concrete is

available to indicate how the alleged scheme was executed, or by whom. Nor is it clear who the

intended victim supposedly was.

       In sum, the allegations do not connect actual, concrete facts so as to establish, as they must,

that a scheme was intended to or did in fact afford means to induce U.S. financial institutions to

incur losses or exposure that would not have occurred but for the fraud. The resulting Indictment



12
    The Defendant notes that, as a general matter, it is the merchant banks, not individuals or
companies facilitating commerce, who assign merchant category codes. See e.g., Merchant Data
Standards          Manual,       Visa,       at          p.       15       (Oct.        2019),
https://usa.visa.com/dam/VCOM/download/merchants/visa-merchant-data-standards-
manual.pdf; Visa Core Rules and Visa Product and Service Rules, Visa, at 580, et seq.,
https://usa.visa.com/dam/VCOM/download/about-visa/visa-rules-public.pdf (Apr. 18, 2020).

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does not give notice of an offense or afford meaningful opportunity for defense, including from

the perspective of double-jeopardy, and it should be dismissed for lack of specificity.

           B. The Indictment fails to state an offense.

       Not only does the Indictment fail to identify a specific instance of actual bank fraud against

any specified bank, it also fails to allege, even in the abstract, a series of events that would amount

to a conspiracy to commit bank fraud. The Indictment should therefore be dismissed for failure to

state an offense on the merits, as well as for lack specificity.

       To state a claim for conspiracy under 18 U.S.C. §371, the Government must allege inter

alia, an underlying “offense against the United States” that is the object of the conspiracy. United

States v. Svoboda, 347 F.3d 471, 476 (2d Cir. 2003) (setting forth the “three essential elements”

of a conspiracy: “(1) an agreement among two or more persons, the object of which is an offense

against the United States; (2) the defendant’s knowing and willful joinder in that conspiracy; and

(3) commission of an overt act in furtherance of the conspiracy by at least one of the alleged co-

conspirators.”).

       Stripped of puffery and legal conclusions, the instant Indictment does not describe the

federal offense of bank fraud—the only “offense against the United States” allegedly at issue. At

bottom, the Defendants merely facilitated lawful, legitimate transactions between willing,

informed parties within the states of California and Oregon. The Government fails to allege

(because it cannot allege) that the Defendants intended to harm anyone—banks, payment

processors, Credit Card Companies, customers, or anyone else—even though that is an essential

element of this crime. Because there is no actual or intended victim here, there can be no fraud,

and the Indictment fails at the first element. Indeed, it would be unprecedented to sustain an




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Indictment for a victimless “bank fraud” (i.e., in which no one was, in fact or by intention, injured

by any fraud).

                 1. 18 U.S.C. § 1344

       The federal prohibition against U.S. bank fraud serves the fundamental purpose of

protecting U.S. financial institutions, the U.S. financial system, and the FDIC’s investment in the

same. See United States v. Laljie, 184 F.3d 180, 189 (2d Cir. 1999) (“The purpose of this section

is to protect the federal government's interest as an insurer of financial institutions.”).13 To that

end, the statute makes it a crime to “knowingly execute[], or attempt[] to execute, a scheme or

artifice (1) to defraud a financial institution; or (2) to obtain any of the moneys, funds, credits,

assets, securities, or other property owned by, or under the custody or control of, a financial

institution, by means of false or fraudulent pretenses, representations, or promises.” 18 U.S.C.

§ 1344.

       The statute has two distinct operative clauses—subsection (1) protects the banks

themselves from fraud, while subsection (2) extends that protection to those who put their faith

(and their money) in the security of the federal banking system. The statute thus protects against

more than the classic instance of fraudsters hoodwinking U.S. banks into parting with their own

money (a scenario that is not remotely posed here). See Loughrin v. United States, 573 U.S. 351,

356 (2014) (subsection (2) of bank fraud statute extended to conduct involving intent to deprive

third-party retailer of its money, even where there was no intent to harm the bank).




13
    Consistent with this policy, the statute is limited to U.S. federally insured institutions—here,
the issuing banks—and excludes the Credit Card Companies and foreign merchant banks. See 18
U.S.C. § 20.


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       But the statute does not go so far as to transmute otherwise legitimate commercial

transactions—those that are neither intended to nor actually do put any party at risk of loss—into

crimes. Nor does the statute give the discretionary policy of a particular private bank the force of

federal criminal law whenever such a policy is arguably violated or bent.14 That certain bank

policies may allegedly have been violated does not mean that the criminal prohibition of Section

1344 was violated. Because this Indictment rests on the opposite premise and that premise is

wrong as a matter of law, the Indictment should be dismissed at the pleading stage. When held to

the measure of Section 1344 and cases construing it, the Indictment fails to allege anything that

might establish either (1) the intent to harm some party or (2) the materiality of any

misrepresentations made in the course of the transactions at issue, both of which are essential.

               2. The Indictment fails to allege an offense under 18 U.S.C. § 1344.

       As a preliminary matter, this Indictment requires no serious consideration of Section

1344’s subsection (1), which requires specific intent to defraud a financial institution out of its

own money.15 Here, there is no whisper of any such intent on the part of the Defendants.16 Rather,


14
    That is not to say there are no consequences for deliberately violating the banks’ policies. To
the contrary, the Government in its pleading references a contractual framework anticipating
possible violations of the rules by a merchant, which lead first to financial penalties and thereafter
may result in termination from the Credit Card Network. (Indictment ¶ 8). It is telling that the
private sector has created a contractual framework—one that obviates resort to litigation, let alone
federal criminal prosecution—to handle commercial disputes that the Government here
characterizes as felony bank fraud. Painting these practices as criminal ignores the existing
contractual agreements and threatens to criminalize a broad range of activities that until now have
apparently been largely resolved between private parties.
15
    Loughrin, 573 at 357 (2014) (describing intent to defraud as not simply an element of this
offense under § 1344(1), but its “whole sum and substance.”; see also United States v. Bouchard,
828 F.3d 116, 124 (2d Cir. 2016) (confirming that intent to defraud a financial institution is an
element of bank fraud under § 1344(1)).
16
    To the extent the Government does assert that subsection (1) applies, the argument has no
merit. Intent to defraud under subsection (1) requires intent to cause actual loss or risk of loss to
a financial institution. See United States v. Ahmed, 133 F.3d 908 (2d Cir. 1998) (explaining that

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it appears the Government has placed all of its eggs in the more inclusive basket of the second

subsection. But there, too, the Indictment fails.

       A violation of 18 U.S.C. § 1344(2) has three elements: (1) knowing execution of a scheme

or artifice; (2) in order to obtain property owned by or in the custody of the bank; and (3) execution

by means of false or fraudulent pretenses, representations or promises. 18 U.S.C. § 1344(2);

Loughrin, 573 U.S. at 355 (2014) (discussing the elements of bank fraud under § 1344(2)). This

second subsection of 1344 is certainly more expansive than the first: the alleged scheme need not

actually target the bank, but can instead target the party for whom the bank held property, so long

as the misrepresentation at issue affords the means by which that property is obtained.

       In this case, the two most salient requirements of Section 1344(2) are: (1) intent to harm

someone; and (2) the materiality of any misrepresentations used to execute the alleged scheme.

The Indictment is doubly defective because it independently fails to satisfy each of those two

elements.

                  i. The Indictment fails to allege any intent to harm by Defendants.

       Loughrin established that the key distinction between subsections (1) and (2) is that intent

to defraud and the corresponding intent to harm under subsection (2) need not be directed




intent to subject a financial institution to risk of loss suffices for the required intent to defraud
under § 1344(1)); United States v. Calderon, 944 F.3d 72, 90 (2d Cir. 2019) (recognizing that
intent to expose a bank to significant economic risk would suffice, but accepting that “[a] genuine
belief that the scheme never exposed the victim to loss or risk of loss in the first place would
demonstrate a lack of fraudulent intent”). As described more fully infra § III.B.2.i, the
Government has not even alleged a theory of potential harm—be it legal, financial, economic, or
otherwise—to a processing bank, much less that any financial institution was in fact exposed to
any loss or risk of loss. Nor has it alleged any basis to infer Defendants intended any loss or risk
thereof. By failing to allege any loss (actual, potential or intended) to a financial institution, the
Indictment fails to allege that the object of the conspiracy—the processing of marijuana
transactions in California and Oregon consistent with applicable state law—constituted an offense
under Section 1344(1).

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specifically at a financial institution. But it did not obviate the requirement that the defendant

must intend to harm or risk harm to someone, as that is part and parcel of defrauding. See 573

U.S. at 363.

        Loughrin itself established that an intent to harm a retailer, rather than specific intent to

harm a bank, sufficed under Section 1344(2). Id.; see also Calderon, 944 F.3d at 92 (2d Cir. 2019)

(declining to reach the question of whether Loughrin abrogates prior Second Circuit law requiring

an intent to harm someone). Other circuits have reached the same conclusion, finding intent to

harm third parties other than the financial institution can constitute requisite intent to defraud.

United States v. Morganfield, 501 F.3d 453, 464–65 (5th Cir. 2007) (intended victim may be a

third party, rather than a bank); Ninth Circuit Jury Instructions Committee, Manual of Model

Criminal Jury Instructions, 8.127, p. 355 (2019) (requiring proof of intent to defraud, but noting

that, consistent with Loughrin, that intent need not be directed at the bank); United States District

Court of Maine, 2019 Revisions to Pattern Criminal Jury Instruction for the District Courts of the

First Circuit, 4.18.1344 (2019) (explaining that the requirement of intent to deceive may have

survived Loughrin because Loughrin still involved a victim other than the bank).

        While there have been numerous prosecutions under §1344(2) since Loughrin, the

Defendants have not been able to identify a single post-Loughrin case where, as here, there is

neither any intended victim nor some concrete risk to that victim. See, e.g. Shaw v. United States,

137 S.Ct. 462, 468–69 (2016) (noting that subsection § 1344(2) covers circumstances involving a

false statement to a store or cashier, even when, strictly speaking, the statement is not designed to

deceive the bank and therefore might not fall under subsection (1)); United States v. Metaxas, 2020

WL 1472440, at *6 (E.D.N.Y. Mar. 26, 2020) (“The intent that is required when dealing with a

bank’s assets is the intent to take the deceptive action that causes the exposure”); c.f., United States



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v. Ajayi, 808 F.3d 1113, 1124 (7th Cir. 2015) (explaining the harm requirement for bank fraud

generally and explaining that “the crime of bank fraud is complete when the defendant places the

bank at risk of financial loss, and not necessarily when the loss itself occurs”).17

        Here, the Government simply fails to plead any cognizable theory of harm or risk of harm

to anyone. At no point does the Government even suggest that there was any harm or risk thereof

(intended or not), to any customer, cardholder, Credit Card Company, or merchant bank, all of

which were, by all accounts, willing and informed participants in the marijuana transactions. And,

despite observing that possession, use, and distribution of marijuana remains unlawful under

federal law, the Indictment conspicuously fails to allege that the banks or any other parties to the

transaction might have been subject to prosecution, civil liability or economic loss as a result of

their participation in processing these payments (Indictment ¶ 10(d), n. 2). To the contrary, the

Indictment acknowledges the prospect that at least some U.S. financial institutions would have

been glad to process such marijuana-related transactions without incident.

        The Indictment betrays the premise that the transactions at issue could be perfectly

legitimate had all participants been fully informed. If it could prosecute the banks for processing



17
    The Southern District of New York’s statement in dicta in United States v. Nejad, 2020 WL
883500, at *3 (S.D.N.Y. Feb. 24, 2020) that the defendant need not intend to cause harm to anyone
reflects a misunderstanding of both Loughrin and United States v. Lebedev, 932 F.3d 40, 49 (2d
Cir. 2019), cert. denied sub nom. Gross v. United States, 140 S. Ct. 1224 (2020). Notably, the
Court in Nejad recognized that the evidence sufficed to show a risk of harm to the victim banks.
Further, as explained below, Loughrin involved an intent to harm a third-party retailer, while
Lebedev involved an illegal money-transmitting business that failed to register with federal
regulators and failed to obtain state licensure, thereby placing the target financial institution at risk.
That is not analogous to a legal marijuana business that fully complies with state laws. Further,
Lebedev considered whether the evidence presented at trial established that the misrepresentations
as to nature of the transactions caused the financial institutions to process them when they
otherwise would have refused. Here there is not even a foundational allegation that the financial
institutions would have refused to process the transactions but for the alleged misrepresentations.


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marijuana-related transactions, the Government would simply prosecute Defendants on that

straightforward basis, without resorting to the tortured workaround of alleging bank fraud. But

the Government knows it cannot prosecute banks for processing these transactions exactly as they

did here, and appears to have confirmed as much in its briefing.18

       The failure to allege any intent to harm anyone, or any actual harm or risk of harm, should

be fatal to the Indictment. See United States v. One White Crystal Covered Bad Tour Glove and

other Michael Jackson Memorabilia, 2012 WL 8467453 (Sept. 6, 2012) (expressing, pre-

Loughrin, skepticism of Government’s allegation of victimless bank fraud in connection with

forfeiture action where individual opened bank accounts using names other than his own, given

the absence of any allegations that the individuals attempted to obtain from the bank any funds

other than his own, despite using fraudulent means to do so). For all its mudslinging about foreign

companies and websites, the Government fails to make any allegations—however abstract or

theoretical—that might establish a black-letter element of its claim. The Indictment should

therefore be dismissed.

                ii. The Indictment fails to allege materiality.

       Separately, the Indictment also fails to allege the materiality of the supposed

misrepresentations—in fact, the term “material” never once appears in the Indictment. As such,

the Indictment fails to satisfy the third element of bank fraud under 18 U.S.C. § 1344(2)—that

alleged misrepresentations be the means by which the scheme was accomplished.




18
   See ECF 27 at 2, n.1 (where the Government terms it “entirely beside the point” whether the
underlying transactions were “legal under state law in several states, including California and
Oregon,” and instead relies upon the fact that “many United States banks are unwilling to process
payments involving the purchase of marijuana,” while studiously avoiding any claim that the
underlying transactions would be illegal for any, let alone all, U.S. banks to process).

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       The Supreme Court has clarified that the false statements or misrepresentations at issue in

a prosecution under subsection (2) must be more than a simple but-for cause of a bank releasing

money—they must be the “mechanism naturally inducing a bank (or custodian of bank property)

to part with money in its control.” Loughrin, 573 U.S. at 363. Put another way, “to establish the

existence of a scheme to defraud, the Government must prove the materiality of a defendant’s false

statements or misrepresentations.” Calderon, 944 F.3d at 85.

       Here, the Government fails to allege any facts in support of the third essential element—

that the purported misrepresentations were material to, and thus induced the financial institutions

to process the transactions. See Loughrin, 573 U.S. at 363. That omission is noteworthy because

the basic allegations needed to satisfy this element would be straightforward, if only the

Government had a basis on which to make them.

       While the Indictment alleges variably that most or many U.S. financial institutions are

unwilling to process transactions involving marijuana, (Indictment ¶¶ 1, 12), it fails to allege that

any particular financial institution that did process the transactions here was unwilling to do so,

just as it fails to identify any policies under which those particular banks would have been

unwilling to process those transactions.

       The Indictment also fails to allege that any particular institution was unaware it was

processing marijuana transactions, or that the reason the institution was unaware was co-

conspirators’ merchant coding—i.e. that the supposed misrepresentation actually supplied the

means. Notably, the Indictment alleges there was no proper code applicable to marijuana. As

such, no matter what code had been chosen (i.e., medical, pharmacy, etc.), under the Government’s

own account of the facts, the banks could not possibly have obtained sufficient information to

allow them to screen specifically for marijuana transactions. Moreover, merchant category codes



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are assigned categorically to industries for which banks accept transactions—at which point the

issuing bank does not consider the individual merchant category code assigned in determining

whether to process a particular transaction. Of course, the Indictment also fails to allege any

particular bank would in fact have refused to process a particular transaction absent co-

conspirators’ particular representations, even if the bank somehow had become aware that the

transactions involved marijuana.

        In a similar vein, while the Indictment alleges that the Credit Card Companies might have

terminated their relationship with a merchant for failure to abide by their alleged policies

(Indictment ¶ 8), there is no concomitant allegation that the Credit Card Companies would have

or could have prevented the processing of any transactions the underlying banks were willing to

process. Nor does the Indictment even purport to allege what the Credit Card Companies’ policies

at issue here actually were. In fact, as mentioned above, it is at least Visa’s and MasterCard’s

policy to leave to individual banks the decision whether to process marijuana transactions.19

        The Government’s vague allegations about what some banks often do, or about contractual

consequences third parties could possibly face, do not suffice to establish the materiality of co-

conspirators’ alleged representations to particular transactions. See United States v. Puerta, 607

F. App’x 635, 636 (9th Cir. 2015) (failure to introduce sufficient evidence that use of two names

and false reason to recall a money transfer caused the bank to part with its money resulted in failure

to meet the means requirement under Loughrin). The Government’s allegations (or lack thereof)

make this comparable to a bank-fraud case that rests on alleged failure to accurately report revenue

yet fails to allege that the relevant bank (or transaction) required or considered reported revenue;




19
     Supra note 5.

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such a theory could not stand. The Indictment’s failure to allege any facts that would support the

materiality of the misrepresentations should be fatal in and of itself.

         The Indictment stands in stark contrast to the facts considered in United States v. Lebedev,

932 F.3d at 48–49, where the Second Circuit considered the sufficiency of evidence to convict the

defendants of mail fraud and bank fraud based on misrepresentations regarding their unlawful,

unregistered and unlicensed virtual currency exchange. The Court explained that the information

withheld regarding the nature of the defendants’ bitcoin exchange was “potentially valuable

economic information” and noted that the specific bank at issue “consider[ed] transactions with

money services or money-transmitting businesses to carry a higher risk of fraud.” Id.

         The Indictment here lacks any such allegation regarding potential risk to the financial

institutions that could make material the fact the transactions involved marijuana. Nothing in the

Indictment suggests that the economics of processing these transactions are less attractive or

profitable than processing transactions for sneakers, nor is there any reason to so assume. In other

words, the Indictment does not establish any economic value specifically associated with whether

a willing, informed cardholder was buying marijuana rather than aspirin via a given transaction.

         Absent any allegation of facts establishing materiality (which is compounded here by the

failure to allege anything with specificity about banks, policies, or transactions), the Indictment

fails to state an offense under Section 1344(2), and correspondingly fails to state the offense of

conspiracy.

   IV.      The Indictment defies the Rohrabacher-Farr Amendment.

         The flaws in the Indictment may well reflect the Government’s own awareness that the

instant prosecution is adventurous, at best, and very likely improper. Stripped of insinuations,

innuendo, and misdirection, the Indictment faults Defendants for creating a mobile platform to


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facilitate the purchase, sale, and delivery of marijuana products in California and Oregon—states

where such activity is legal under applicable state law, including for medical purposes. As the

Indictment makes clear, there was no intent to harm any of the parties involved in the transactions

facilitated by this platform, nor any risk of loss to them. Indeed, the Indictment leaves open the

legal entitlement of U.S. banks to process the underlying transactions as they see fit, without

running afoul of federal law. In nonetheless trying to prosecute a criminal case for bank fraud, the

Government looks to bank policies on marijuana rather than to federal law on marijuana, and

equates the discretionary choices of (unspecified) U.S. banks with the economic soundness of U.S.

banks (as backed by the United States Government).

       Why such contortions? The Rohrabacher-Farr Amendment may well supply the answer.

Passed in 2014 and included in every omnibus appropriations bill since, the Amendment restricts

the Government from prosecuting individuals and entities for marijuana-related commercial

activity that is legal under state law.20 The Ninth Circuit has interpreted this to mean that, “[i]f the

federal government prosecutes [] individuals [engaged in activity permitted under state law], it has

prevented the state from giving practical effect to its law providing for non-prosecution of

individuals who engage in the permitted conduct.” See United States v. McIntosh, 833 F.3d 1163,

176 (9th Cir. 2016). More recently, the Tenth Circuit permitted a district court to consider whether

the same language prohibits the Bureau of Prisons from continuing to expend funds to incarcerate



20
   The rider provides: “None of the funds made available in this Act to the Department of Justice
may be used, with respect to the States of Alabama, Alaska, Arizona, California, Colorado,
Connecticut, Delaware, District of Columbia, Florida, Hawaii, Illinois, Iowa, Kentucky, Maine,
Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nevada, New
Hampshire, New Jersey, New Mexico, Oregon, Rhode Island, South Carolina, Tennessee, Utah,
Vermont, Washington, and Wisconsin, to prevent such States from implementing their own State
laws that authorize the use, distribution, possession, or cultivation of medical marijuana.”
Consolidated Appropriations Act of 2020, Pub. L. No. 116-93, § 531, 133 Stat. 2317 (2019).

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someone based on a conviction for conduct that complied with state law. See Sandusky v. Goetz,

944 F.3d 1240, 1244, 1247 (10th Cir. 2019).

        In this case, the Government is attempting to prosecute Defendants for a federal felony

based only on conduct that is legal under applicable state law, and, what is more, is occurring

openly, notoriously, and as-advertised every day by commercial actors across a variety of states.

See       Los        Angeles-        Venice        (Lincoln      Blvd),         MedMen          (2019),

https://www.medmen.com/stores/venice-beach-lincoln-blvd (advertising ability to pay with debit

cards at one of MedMen’s Venice Beach locations for in store purchases or delivery); Santa Ana

– Orange County, MedMen (2019), https://www.medmen.com/stores/orange-county-santa-ana

(same     for      Orange        County     location);   Store       Locator,    MedMen         (2019),

https://www.medmen.com/stores (same for the other 10 MedMen locations in California); Las

Vegas – Downtown (Arts District), MedMen (2019), https://www.medmen.com/stores/las-vegas-

downtown-vegas-arts-district (same for Nevada); Scottsdale – Talking Stick (Manzanita),

MedMen (2019), https://www.medmen.com/stores/scottsdale-talking-stick-n-pima-and-e-via-de-

ventura (same in Arizona save no delivery); Tallahassee – Thomasville Rd., MedMen (2019),

https://www.medmen.com/stores/tallahassee-lafayette-park; Frequently Asked Questions, Harvest

Bloom (2020), https://getharvestbloom.com/faq/ (marijuana delivery throughout San Francisco

using    all    credit   cards     except   American     Express);     Dosist    West    3rd,    Yelp,

https://www.yelp.com/biz/dosist-west-3rd-west-hollywood-2 (noting the Dosist location in West

Hollywood accepts credit cards); FAQ, Ganja Goddess (2019), https://goddessdelivers.com/faq

(accepts credit cards for marijuana delivery throughout California); Menu, Green Goddess,

https://shop.greengoddesscollective.com/store/green-goddess-collective1/menu (accepts debit and




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credit cards for in store or delivery purchases in Los Angeles); and Today’s Menu, Green Dot

(2018), https://www.thegreendotla.com/pick-up-menu.html (same).

       Notably, had the Government brought this Indictment in the Central District of California,

as the links above illustrate, its case would proceed surrounded by dispensaries that regularly sport

Visa and MasterCard stickers on their windows. That said, even on the streets of New York, the

dispensary MedMen also accepts debit cards at all four of its New York locations, including the

one on Fifth Avenue.21

       Simply put, the Government is attempting to prosecute Defendants for engaging in conduct

that is not only legal under applicable state law, but widespread and notorious. To the extent the

Government wants to carve our recreational marijuana transactions from medical marijuana

transactions so as to circumvent Rohrbacher-Farr, the instant effort to sweep them together hardly

affords it the high ground. And the Government’s withholding of key specifics that would

illuminate, for instance, where the underlying transactions occurred and whether they involved

medical recommendations and uses, may serve to evade proper judicial and congressional scrutiny

of such prosecutions. Such an effort should not be dignified, and affords no justification for the

Government to play fast and loose with the Indictment.

       In this light, especially, the Court has every reason to enforce basic, established legal

strictures by dismissing the Indictment in its entirety.




21
     NYC – Fifth Avenue (Bryant Park), MedMen (2019), https://www.medmen.com/stores/nyc-
fifth-avenue-bryant-park (5th Avenue accepts debit cards); Syracuse – Galeville (Buckley Rd.),
MedMen (2019), https://www.medmen.com/stores/syracuse (same in Syracuse); Long Island –
Lake Success (Marcus Ave.), MedMen (2019), https://www.medmen.com/stores/lake-success
(same on Long Island); and Buffalo – S. Main St., MedMen (2019),
https://www.medmen.com/stores/buffalo (same in Buffalo).

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  I.      Conclusion

       For the foregoing reasons, the Court should dismiss the Indictment.



June 26, 2020                       Respectfully submitted,

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